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           IN THE UNITED STATES DISTRICT COURT
         FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


MICHAEL “DOE”                         CASE NO. 4:25-CV-01199
                                               __________


                                      COMPLAINT
          Plaintiff,

              v.                      JURY TRIAL DEMANDED (8)

GEISINGER HEALTH PLAN
100 N. Academy Drive
Danville, PA 17822;

GEISINGER QUALITY OPTIONS,
INC.
100 N. Academy Drive
Danville, PA 17822;

GEISINGER INDEMNITY
INSURANCE COMPANY
100 N. Academy Drive
Danville, PA 17822;

GEISINGER HEALTH SYSTEM
100 N. Academy Drive
Danville, PA 17822;

GEISINGER
100 N. Academy Drive
Danville, PA 17822;

RISANT HEALTH, INC.
900 7th Street NW
Washington, DC 20001;
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RISANT HEALTH
900 7th Street NW
Washington, DC 20001;

KAISER PERMANENTE
1 Kaiser Plaza
Oakland, CA 94612;

KAISER FOUNDATION HEALTH
PLAN
1 Kaiser Plaza
Oakland, CA 94612;

KAISER FOUNDATION HOSPITALS
1 Kaiser Plaza
Oakland, CA 94612;

PERMANENTE MEDICAL GROUPS
1 Kaiser Plaza
Oakland, CA 94612;

ABC CORPORATION
100 N. Academy Drive
Danville, PA 17822,

            Defendants.


                               COMPLAINT

     Plaintiff, Michael “Doe,” by and through her undersigned counsel, Justin

Robinette, Esquire, hereby submits and files the instant Complaint against

Defendants, Geisinger Health Plan, Geisinger Quality Options, Inc., Geisinger

Indemnity Insurance Company, Geisinger Health System, Geisinger, Risant Health,


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Inc., Risant Health, Kaiser Permanente, Kaiser Foundation Health Plan, Kaiser

Foundation Hospitals, Permanente Medical Groups, and ABC Corporation, averring

in support thereof, as follows:

                             I.    THE PARTIES:

1.   Plaintiff, Michael “Doe” (hereinafter “Plaintiff”) is a citizen and resident of

     Scranton, Pennsylvania, residing at                                               .

     Plaintiff is utilizing a Doe designation for her last name and has redacted her

     address from the Complaint consistent with Plaintiff’s Motion to Proceed

     Anonymously filed on this same date.

2.   Plaintiff’s legal name consists of Plaintiff’s first name, “Michael.” Plaintiff has

     not changed her legal name to date. Plaintiff is transgender. Plaintiff identifies

     her gender identity as female. Plaintiff’s preferred pronouns are “she” and

     “her.”

3.   Defendant, Geisinger Health Plan (hereinafter “Geisinger Health Plan”) is a

     corporation organized and existing under the laws of the Commonwealth of

     Pennsylvania with its principal place of business located at 100 N. Academy

     Drive, Danville, PA 17822.

4.   Defendant, Geisinger Quality Options, Inc. (hereinafter “Geisinger Quality

     Options, Inc.”) is a corporation organized and existing under the laws of the



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     Commonwealth of Pennsylvania with its principal place of business located at

     100 N. Academy Drive, Danville, PA 17822.

5.   Defendant, Geisinger Indemnity Insurance Company, is a corporation

     organized and existing under the laws of the Commonwealth of Pennsylvania

     with its principal place of business located at 100 N. Academy Drive, Danville,

     PA 17822.

6.   Defendant, Geisinger Health System (hereinafter “Geisinger Health System”)

     is a corporation organized and existing under the laws of the Commonwealth of

     Pennsylvania, with a principal place of business located at 100 N. Academy

     Drive, Danville, PA 17822.

7.   Defendant, Geisinger (hereinafter “Geisinger”), is a healthcare organization

     with a principal place of business located at 100 N. Academy Drive, Danville,

     PA 17822.

8.   Geisinger Health System was acquired by Risant Health on March 31, 2024.

     Risant Health and Risant Health, Inc., are subsidiaries of Kaiser Permanente,

     Kaiser Foundation Health Plan, Kaiser Foundation Hospitals, or Permanente

     Medical Groups. Kaiser Permanente is the parent organization of Risant

     Health. Risant Health’s first acquisition was Geisinger Health System.

9.   Defendant, Risant Health, is a corporation organized and existing under the



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      laws of the District of Columbia with a headquarters and principal place of

      business located at 900 7th Street NW Washington, DC 20001.

10.   Defendant, Risant Health, Inc., is a corporation organized and existing under

      the laws of the District of Columbia with a headquarters and principal place of

      business located at 900 7th Street NW Washington, DC 20001.

11.   Defendant, Kaiser Permanente, is a corporation organized and existing under

      the laws of the State of California with a headquarters and principal place of

      business located at 1 Kaiser Plaza, Oakland, CA 94612.

12.   Defendant, Kaiser Foundation Health Plan, is a corporation organized and

      existing under the laws of the State of California with a headquarters and

      principal place of business located at 1 Kaiser Plaza, Oakland, CA 94612.

13.   Defendant, Kaiser Foundation Hospitals, is a corporation organized and

      existing under the laws of the State of California with a headquarters and

      principal place of business located at 1 Kaiser Plaza, Oakland, CA 94612.

14.   Defendant, Permanente Medical Groups, is a corporation organized and

      existing under the laws of the State of California with a headquarters and

      principal place of business located at 1 Kaiser Plaza, Oakland, CA 94612.

15.   Defendant, “ABC Corporation,” is included as an unnamed Defendant in this

      action. It is believed and therefore averred that this entity is the corporate



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      Geisinger entity that sold the insurance policy at issue to Plaintiff if that entity

      was not Geisinger Health Plan. It is believed that the address for this entity

      would be 100 N. Academy Drive, Danville, PA 17822. The identity of this

      defendant is not known to Plaintiff at this time. The identity of this Defendant

      may become known during the course of discovery into this matter. This

      Defendant is included as a Doe designation and Plaintiff reserves the right to

      seek leave of Court to amend the Complaint to identify this Defendant more

      specifically as becomes necessary.

                        II.      JURISDICTION & VENUE:

16.   This Court has jurisdiction over the parties and claims pled herein pursuant to

      28 U.S.C. § 1331.

17.   This Court has supplemental jurisdiction over the related state law claims pled

      herein pursuant to 28 U.S.C. § 1367(a).

18.   This Court has jurisdiction over Defendants because Defendants’ contacts with

      this state and judicial district are sufficient for the exercise of jurisdiction over

      Defendants to comply with traditional notions of fair play and substantial

      justice, satisfying the standard set forth by the Supreme Court of the United

      States in International Shoe Company v. State of Washington, 326 U.S. 310

      (1945), and its progeny.



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19.   Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a

      substantial part of the events or omissions giving rise to the Plaintiff’s claims

      occurred in this judicial district.

                             III.   MATERIAL FACTS:

20.   Plaintiff is a transgender female.

21.   At all times relevant hereto, Plaintiff was clinically diagnosed with gender

      dysphoria or “GD.” Plaintiff was clinically diagnosed with GD by her therapist

      in 2020. Plaintiff has felt that her internal sense of her gender identity has been

      female since adolescence.

22.   Gender dysphoria is a medical and therapeutic diagnosis “associated with

      clinically significant distress or impairment in social, occupational, or other

      important areas of functioning” for a person who is transgender. See Diagnostic

      and Statistical Manual of Mental Disorders, 5th Ed. (“DSM-V” at 302.85).

23.   The substantial limitation on Plaintiff’s interaction with others is characterized

      on a regular basis by severe problems in primarily social functioning of which

      she was diagnosed on account of her gender dysphoria.

24.   Various medical procedures, including facial feminization surgery (or “FFS”),

      are available to assist transgender women to ensure a body that is more in

      congruence with their gender identity in order to alleviate their gender



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      dysphoria.

25.   The World Professional Association of Transgender Health (“WPATH”)

      Guidelines, Standards of Care 8, provide that the standard of care for gender

      dysphoria is to treat “gender affirming interventions,” including “gender

      affirming facial surgery and body contouring,” as “medically necessary.” See

      Standards of Care for the Health of Transgender and Gender Diverse People,

      Version 8, International Journal of Transgender Health, 23(S1), S18 (2022).

26.   At all times relevant hereto, Plaintiff purchased insurance from the Defendants,

      Geisinger Health Plan, Geisinger Quality Options, Inc., Geisinger Indemnity

      Insurance Company, Geisinger Health System, Geisinger, and/or ABC

      Corporation (the “Geisinger Defendants”). The Geisinger Defendants issued

      and had in place for Plaintiff a policy of health insurance to insure Plaintiff for

      healthcare. A true and correct copy of Geisinger Health Plan Policies and

      Procedures Manual, Medical Benefit Policy, Gender Dysphoria and Gender

      Confirmation Treatment, Policy MP307, for the relevant time, is attached

      hereto as Exhibit “A.”

27.   Plaintiff sought insurance coverage from the Geisinger Defendants for facial

      feminization surgery, which constituted a form of gender affirming care and

      treatment, in an attempt to alleviate Plaintiff’s gender dysphoria.



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28.   The facial feminization surgery procedures sought by Plaintiff included a range

      of procedures such as a cranioplasty of the forehead, implants into the temples,

      facial osteotomy or bone augmentation procedures, maxillary impaction

      surgery for the bite and the chin, and a “mid-face setback” or a mid-face lift.

29.   Plaintiff did not elect to purchase health insurance through her employer’s

      health insurance plan, because Plaintiff wanted to ensure that the facial

      feminization surgery procedures that Plaintiff specifically sought would be

      covered by insurance at the relevant time.

30.   Plaintiff has been working as a food delivery driver. Plaintiff discontinued her

      employer’s health insurance coverage and instead sought coverage from the

      Geisinger Defendants for facial feminization surgery procedures believing them

      to be covered. The plan ultimately purchased by Plaintiff from the Geisinger

      Defendants was not an employer sponsored health plan covered by the

      Employee Retirement Income Security Act (“ERISA”).

31.   Specifically, on or about April 30, 2021, Plaintiff called and spoke with a

      representative of Pennsylvania’s health insurance marketplace exchange, or

      Pennie, the Pennsylvania Health Insurance Exchange Authority, and

      specifically inquired about the plans that would cover gender affirming care.

      Plaintiff was presented the option of a plan sold by the Geisinger Defendants.



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      Plaintiff specifically asked the representative whether facial feminization

      surgery, or FFS, forehead surgery, and jaw surgery, would be covered under the

      plan to be purchased, or words to that effect. The representative stated that the

      plan would cover those procedures, or words to that effect. Plaintiff was given

      no reason to doubt the same. Plaintiff would not have purchased the plan had

      she understood differently that facial feminization surgery would not be

      covered by the plan. Plaintiff also asked whether the plan would cover Plaintiff

      if she were out-of-network, for example, if her surgeon were in California, and

      the representative indicated that the plan would.

32.   In 2021, Plaintiff found difficulties in making ends meet but she ensured that

      she paid premiums every month in a timely manner to the Geisinger

      Defendants. Plaintiff did so in order to ensure she maintained health insurance

      coverage with the Geisinger Defendants that Plaintiff believed would

      specifically cover the gender affirming procedures Plaintiff would be seeking.

      Because of Defendants’ ultimate denial of coverage for these procedures,

      Plaintiff was forced to expend at that time what was, in essence, Plaintiff’s

      entire life savings to date.

33.   In reliance on the representation that the Geisinger Defendants’ insurance plan

      would cover facial feminization surgery procedures, Plaintiff elected to



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      purchase the Geisinger Defendants’ health insurance plan. The effective date

      of the insurance plan that was purchased by Plaintiff from the Geisinger

      Defendants was May 1, 2021.

34.   The specific reason why Plaintiff sought and purchased the plan at the time,

      believing the representation that facial feminization surgery procedures would

      be covered under the plan, was because Plaintiff had scheduled a surgery date

      for the facial feminization surgery procedures for July 2, 2021. The specific

      facial feminization surgery procedures sought by Plaintiff were the reason why

      she procured health insurance coverage from the Geisinger Defendants in the

      first instance.

35.   On or about June 28 or 29, 2021, Plaintiff submitted a preauthorization request

      to the Geisinger Defendants for coverage of the subject facial feminization

      surgery procedures.

36.   On account of the representation made to Plaintiff at the time of the sale of the

      insurance policy to Plaintiff, Plaintiff did not believe at the time that coverage

      for the procedures would be denied. Plaintiff proceeded with the surgery which

      occurred as scheduled on July 2, 2021.

37.   Plaintiff supplied medical documentation in support of her request for coverage

      of the subject procedures in or about July 2021, including medical support from



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      both her surgeon and a mental health provider, and still believing at the time

      that the subject procedures would be covered.

38.   On August 19, 2021, the Geisinger Defendants provided Plaintiff an initial

      denial of Plaintiff’s preauthorization request seeking coverage for facial

      feminization surgery even though the procedures constituted a form of gender

      affirming care and treatment for Plaintiff. Plaintiff alleges that the Geisinger

      Defendants applied their cosmetic surgery exclusion in a discriminatory manner

      against Plaintiff and denied coverage to Plaintiff on account of discrimination

      including for the reasons explained below. See the relevant excerpt of the Initial

      Denial Letter from the Geisinger Defendants attached hereto as Exhibit “B.”

      The initial denial letter indicates being written by the Medical Management

      department of Geisinger Health Plan, which, the letter states, “may refer

      collectively to health care coverage sponsors Geisinger Health Plan, Geisinger

      Quality Options, Inc., and Geisinger Indemnity Insurance Company, unless

      otherwise noted. Geisinger Health Plan is part of Geisinger, an integrated

      health care delivery and coverage organization.” See id. at p. 2.

39.   The Geisinger Defendants put Plaintiff through an arduous process without ever

      intending to cover Plaintiff’s claim.

40.   Plaintiff subsequently sought an appeal of the denial of her request for coverage



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      to the Geisinger Defendants’ internal review committee which upheld the denial

      of coverage for the procedures.

41.   Plaintiff also filed for an external review seeking coverage of the subject

      procedures. Plaintiff’s request related to coverage of the procedures was

      denied. The denial by the Geisinger Defendants was upheld.

42.   It is believed and therefore averred that the Geisinger Defendants’ policies do

      permit a retrospective review and do permit reimbursement. However, the

      Geisinger Defendants upheld their denial and have refused to pay the proceeds

      that are due under the policy for the reasons explained below.

43.   Prior to instituting this action, Plaintiff also filed a complaint with the

      Pennsylvania Office of the Attorney General, Health Care Section, in an attempt

      to address her concerns. Plaintiff’s complaint to the Pennsylvania Office of the

      Attorney General appeared to go nowhere.          Plaintiff’s complaint to the

      Pennsylvania Office of the Attorney General was to no avail.            Plaintiff

      recollects being told by the investigator at one point that Plaintiff should seek

      out an attorney, or words to that effect.

44.   Defendants, Geisinger Health Plan, Geisinger Quality Options, Inc., Geisinger

      Indemnity Insurance Company, Geisinger Health System, Geisinger, and/or

      ABC Corporation, discriminated against Plaintiff and other people who are



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      transgender based on sex, gender identity, gender stereotyping, and disability

      (gender dysphoria), by refusing to extend insurance coverage to Plaintiff and

      other people who are transgender suffering from gender dysphoria for facial

      feminization surgery, body contouring, and related procedures as part of the

      health insurance plans offered to Plaintiff by the Geisinger Defendants.

45.   The Geisinger Defendants applied their cosmetic surgery exclusion in a

      discriminatory manner against Plaintiff and other people who are transgender.

      The Geisinger Defendants applied their cosmetic surgery exclusion in a

      discriminatory manner against Plaintiff based on sex, gender identity, gender

      stereotyping, and disability (gender dysphoria).

46.   The Geisinger Defendants, in practice, drew a line between the aforementioned

      procedures sought as a form of gender affirming care and treatment, and other

      procedures, and specifically excluded the aforementioned gender affirming

      procedures for Plaintiff and other transgender people with a gender dysphoria

      diagnosis.

47.   The Geisinger Defendants, in practice, intentionally created a barrier for

      Plaintiff and other people who are transgender to access medical services to

      treat their gender dysphoria.

48.   The Geisinger Defendants intentionally carved out an exclusion based on



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      Plaintiff’s transgender status and discriminated against Plaintiff as a

      transgender person on the basis of sex.

49.   The Geisinger Defendants presented Plaintiff with the choice of maintaining

      natal sex characteristics with which she did not identify, or enduring financial

      hardship should she seek to transition, which constitutes discrimination against

      Plaintiff because she is transgender.

50.   Although Plaintiff disputes the genuineness of the reasons provided by the

      Geisinger Defendants for denying Plaintiff’s claim, Plaintiff acknowledges

      that the Geisinger Defendants’ first listed reason contained on Exhibit “B,” the

      initial denial letter to Plaintiff, states that Plaintiff did not receive hormone

      replacement therapy for one (1) year. This requirement is applied only to

      transgender individuals applying for coverage under the policy. A similar

      requirement is not applied to an individual who is cisgender and who applies

      for coverage due to another reason that is medically necessary.             Only

      transgender individuals are being singled out for differential and unfavorable

      treatment under the policy. United States v. Skrmetti, 605 U.S. ___ (2025), is

      distinguishable on this basis.

51.   In Skrmetti, the Supreme Court of the United States did not extend the

      reasoning of Bostock v. Clayton County, Georgia, 590 U.S. 644 (2020), to a



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      scenario where individuals under eighteen (18) were being restricted from

      access to gender affirming care, reasoning that Bostock does not apply because

      transgender individuals are not being disadvantaged compared to similarly

      situated cisgender individuals. In other words, any individual under the age of

      eighteen (18)—male, female, cisgender, or transgender—is being restricted

      from accessing gender affirming care in Skrmetti. Skrmetti only involved

      children seeking gender affirming care, and not adults seeking gender

      affirming care, whereas Plaintiff is an adult.

52.   Further, setting aside the other reasons that the instant denial carves out an

      exclusion against Plaintiff as a transgender person on the basis of sex, draws a

      line on the basis of sex, and involves sex stereotypes, it should nevertheless be

      pointed out that even using a rigid comparator framework, a similarly situated

      cisgender person would not be similarly required to initiate treatment with

      gender hormones in such a scenario, and as such, the transgender person is

      being disadvantaged, not the cisgender person, in such a scenario. Likewise,

      a cisgender person seeking reconstructive facial, forehead, or jaw surgery for

      another reason that is medically necessary other than gender dysphoria is being

      covered while a transgender person is not being covered.

53.   Plaintiff’s sex is inextricably tied to the denial of coverage for gender affirming



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      care and treatment.

54.   The Geisinger Defendants’ purported reason for denying coverage, that

      Plaintiff did not take female or feminizing hormones for one (1) year or more,

      also inherently draws a line based on sex or gender.

55.   Assuming arguendo that the Geisinger Defendants’ reasoning is sincere,

      which Plaintiff does not, the discriminatory line that is being drawn is a form

      of gatekeeping and is in reality arbitrary. For example, an individual who

      received hormone replacement therapy for 364 days would allegedly not be

      covered by the subject policy.

56.   In the instant case, an individual with gender dysphoria like Plaintiff who did

      not receive hormone replacement therapy for one (1) year was not covered by

      the policy even though she lived full-time in the preferred gender for one (1)

      year or more.

57.   There is no medical requirement that an individual undergo hormone

      replacement therapy prior to being considered for facial feminization

      procedures. Facial feminization procedures are not dependent on hormone

      replacement therapy.     Hormone replacement therapy will not alter the

      underlying bone structure of the face necessitating facial feminization

      procedures. Plaintiff’s facial features caused her dysphoria, separate from



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      another area of her body, at the relevant time.

58.   In Plaintiff’s circumstance, Plaintiff’s surgeon was willing to perform facial

      feminization procedures without Plaintiff having previously undergone

      hormone replacement therapy. Plaintiff’s mental health provider provided a

      letter of support stating that the subject procedures were medically necessary

      and appropriate without hormone replacement therapy first being initiated.

      Defendants’ denial premised on a claimant first initiating hormone

      replacement therapy is arbitrary, premised on societal stereotypes, and

      constitutes discrimination.

59.   The provider who provided support for the above denial from the Geisinger

      Defendants was identified by specialty as being a hand surgeon, when Plaintiff

      was seeking facial surgery.

60.   Furthermore, it is also acknowledged that according to the written terms of the

      Geisinger Defendants’ policy, at Exhibit “A,” body sculpting procedures

      including feminization and masculinization of the face are considered

      cosmetic, and thereby excluded from coverage, when sought for gender

      affirming purposes. See Exhibit “A,” Geisinger Health Plan Policies and

      Procedures Manual, Medical Benefit Policy, Gender Dysphoria and Gender

      Confirmation Treatment, Policy MP307, at p. 3 (“EXCLUSIONS:                 The



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      following procedures are considered to be cosmetic and not medically

      necessary to complete gender transition … body sculpting (e.g.,

      masculinization or feminization of face … .”). However, Plaintiff contends

      that this language further supports Plaintiff’s claims in that, in practice, the

      Geisinger Defendants singled out these gender affirming procedures, as

      opposed to other procedures, and excluded them from coverage when sought

      for gender affirming purposes, as opposed to other purposes. It is therefore

      contended that such procedures are being excluded because they are gender

      affirming procedures as opposed to other procedures. This conduct draws a

      line based on sex, carves out an exclusion based on transgender status, and

      constitutes discrimination against the plaintiff because she is transgender. See

      Doe v. City of Philadelphia, et al., Case No. 24-0468, 2024 U.S. Dist. LEXIS

      137444, at *13-14 (E.D. Pa. Aug. 2, 2024).

61.   By the plain language of the policy, individuals who seek the same procedures

      as medically appropriate for a reason other than to complete their gender

      transition are not being excluded from coverage, while only individuals who

      seek the procedures to complete their gender transition are being excluded,

      which is further evidence of disparate treatment and discrimination. That is,

      individuals who are not transgender and who do not suffer from gender



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      dysphoria are not affected by the exclusion in Policy MP307 because these

      individuals are not seeking specifically “to complete a gender transition.”

      However, if an individual who is not transgender and who does not suffer from

      gender dysphoria sought one of these same procedures as medically

      appropriate, so long as the procedures were not sought for gender affirming

      purposes, then the exclusion in Policy MP307 would not apply to that

      individual and the services would be considered covered services. Defendants’

      policy of excluding coverage therefore applies only to transgender individuals

      and excludes them from coverage because they are transgender and suffer from

      gender dysphoria. Using the logic of Bostock and also of Skrmetti, such

      conduct constitutes discrimination on the basis of sex.

62.   It should be pointed out that despite the policy containing the above language

      that the first reason for Plaintiff’s denial appears to have been Defendants’

      contention that initiating hormone replacement therapy for one (1) year is

      purportedly a predicate for such procedures, which Plaintiff does not believe

      specifically appears as a prerequisite in the policy document for facial

      feminization surgery procedures for adults, and which, as above, Plaintiff

      contends is not sincere, and also singles out transgender individuals suffering

      from gender dysphoria for disparate treatment.



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63.   The Geisinger Defendants and not Plaintiff or her medical providers made the

      determination that undergoing the subject procedures was not medically

      necessary for Plaintiff to complete her transition. However, the medical

      necessity determination must be made based on the claimant’s internal sense

      of her gender, or her gender identity, and not on external markers of her

      outward gender expression. What matters, in other words, is how the plaintiff

      identified herself. See Doe v. Independence Blue Cross, No. 23-1530, ___ F.

      Supp. 3d ___, 2023 WL 8050471, at *5 (E.D. Pa. Nov. 21, 2023). It is

      contended that the Geisinger Defendants illegally denied coverage to Plaintiff

      for her to complete her transition based on external markers of her gender

      expression—whether or not she had made changes first using hormone

      replacement therapy—instead of how she identified herself (her gender

      identity), and not based on her letter of medical support from her mental health

      provider or her surgeon’s recommendation.             Plaintiff contends that

      Defendants’ conduct in reality relied upon societal stereotypes.

64.   The Geisinger Defendants’ act of delineating which procedures are necessary

      and which procedures are not necessary for a transgender person to complete

      their gender transition relies upon societal stereotypes rather than how the

      person identifies themself, their individualized circumstances, or based upon



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      the recommendation of their medical provider. These questions were not

      addressed by Skrmetti, and are, from Plaintiff’s perspective, what these type of

      restrictions on transgender healthcare are all about—stereotypes about what

      makes a person a real man or a real woman, or what makes them masculine

      enough or feminine enough by society’s standards. For example, the insurer

      who elects to cover genital reconstruction, but not breast augmentation, is

      saying that a trans person is feminine enough or masculine enough with the

      genital reconstruction, and not the breast augmentation. An insurer who will

      cover breast augmentation, but not a forehead or an Adam’s Apple reduction,

      is saying that a trans person is feminine enough with the breast augmentation,

      and does not need the forehead or the Adam’s Apple reduction.

65.   By way of explanation, Plaintiff had a specific gender transition timeline. The

      order of the procedures for Plaintiff’s specific transition plan occurred as

      follows: electrolysis or hair removal, facial feminization surgery, hormone

      replacement, and hip and pelvic augmentation.           Plaintiff subsequently

      scheduled genital reconstruction surgery. Plaintiff also has an approximate

      timeframe for breast augmentation, and body contouring (waistline narrowing

      and clavicle shortening).

66.   The desire of Plaintiff, and from Plaintiff’s perspective, many other people



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      who are transgender, is the real life experience of fitting in and being

      recognized by others for who they are inside. Plaintiff desired not to be

      identified or outed as being trans in public, which is often the experience of

      transgender people, by virtue of perceptions of the transgender individual’s

      secondary sex characteristics. This is to point out why Plaintiff sought facial

      feminization procedures before other body changes. The point is that Plaintiff

      had medical support from her mental health treatment provider for the facial

      feminization surgery procedures when they were sought and her surgeon was

      willing to perform the procedures and recognized them as medically necessary.

      It is of no consequence that Plaintiff later underwent hormone replacement

      therapy, or breast augmentation, or whether she will have genital

      reconstruction. The point is that at the time the Geisinger Defendants denied

      Plaintiff’s request it was based not on her internal sense of her gender identity,

      but based on external markers of her gender expression, and based on societal

      assumptions or stereotypes about trans people, and about what constitutes a

      real man or a real woman.

67.   Second, although, once again, the genuineness of these reasons are not being

      conceded, it is acknowledged that the Geisinger Defendants stated as the

      second reason for their denial in Exhibit “B” that Plaintiff did not have



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behavioral health evaluations from two (2) clinicians. This is incorrect.

Plaintiff did have the support of her surgeon and of her mental health provider.

Plaintiff’s surgeon was a plastic surgeon and transgender healthcare specialist.

Plaintiff’s therapist has expertise in mental health treatment of transgender

individuals. This stated reason completely disregards the knowledge and

opinions of the two (2) healthcare professionals who supported Plaintiff’s

request and who had expertise in gender affirming care. Further, in the context

of a retrospective review, or of reimbursement, Plaintiff’s ability to procure

evaluations from other providers on top of those two (2) was never considered.

It should also be pointed out that the Geisinger Defendants had one clinician

initially support the denial, and that person was a hand surgeon. Stating that

Plaintiff did not have two (2) clinicians, or the appropriate level of clinicians,

is a pretext. In the instant case, in fact, Plaintiff intends to procure an expert

witness to testify that facial feminization surgery is medically necessary for a

transgender person suffering from gender dysphoria. See Doe v. Independence

Blue Cross, No. 23-1530 (E.D. Pa. 2023) (testimony of Brodie Parent, M.D.,

plastic surgery and transgender healthcare expert, permitted over the insurer’s

Daubert challenge on the question of the medical necessity of facial

feminization procedures for transgender individuals suffering from gender



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      dysphoria). The Geisinger Defendants did not follow their policy correctly

      with respect to Plaintiff and other transgender individuals suffering from

      gender dysphoria. Plaintiff should have been covered by the policy and the

      Geisinger Defendants discriminated against Plaintiff by denying Plaintiff

      coverage under the policy.

68.   The Geisinger Defendants also stated, third, in the denial to Plaintiff that

      Plaintiff was not seeking surgery related to chewing or swallowing. However,

      the Geisinger Defendants’ policy related to treatment of gender dysphoria does

      not require a claimant to state an impairment in chewing, swallowing, or a

      physical or other physiologic function, in order to secure coverage for gender

      affirming care and treatment. See Doe v. Independence Blue Cross, No. 23-

      1530, ___ F. Supp. 3d ___, 2023 WL 8050471 (finding that the insurer’s stated

      reason for the denial, that there was a requirement to show an impairment of a

      physiologic function, like a physical deformity, was incorrect, as impairments

      in social and occupational functioning were sufficient under the policy related

      to gender dysphoria treatment to state impairments for which coverage should

      have been provided). Similarly, here, the requirement that Plaintiff present a

      type of impairment of a physiologic function, like chewing or swallowing, is

      pretextual as such a requirement is not contained as a requirement in the policy.



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      The Geisinger Defendants again did not follow the policy correctly with

      respect to Plaintiff and other transgender individuals suffering from gender

      dysphoria. From Plaintiff’s perspective, the Geisinger Defendants are coming

      up with reasons to deny the claim when they never intended to pay the claim

      in the first instance. The Geisinger Defendants never intended to pay the claim

      despite the representations made to Plaintiff at the time of the sale of the

      insurance policy that the care would be covered.

69.   The reasons provided by the Geisinger Defendants are a pretext for

      discrimination against Plaintiff as a transgender person.

70.   Plaintiff expended large sums of money to pay for facial feminization

      procedures not covered by the Geisinger Defendants including approximately

      $97,000.00 to cover the aforementioned procedures without insurance. Plaintiff

      was forced to expend at that time what was, in essence, Plaintiff’s entire life

      savings to date. Plaintiff seeks damages as well as equitable/injunctive relief

      on behalf of herself and other transgender people to have the right to access

      medically necessary healthcare.

71.   It is alleged that the Geisinger Defendants have engaged in predatory behavior

      as it is alleged they never intended to pay Plaintiff’s claim and, at all relevant

      times, were looking for reasons to deny the claim out of financial self-interest.



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                           IV. CLAIMS FOR RELIEF:

                          COUNT I:
  DISCRIMINATION BASED ON SEX IN VIOLATION OF SECTION 1557
         OF THE AFFORDABLE CARE ACT, 42 U.S.C. § 18116
     (PLAINTIFF, MICHAEL “DOE” v. DEFENDANTS, GEISINGER
  HEALTH PLAN, GEISINGER QUALITY OPTIONS, INC., GEISINGER
 INDEMNITY INSURANCE COMPANY, GEISINGER HEALTH SYSTEM,
    GEISINGER, RISANT HEALTH, INC., RISANT HEALTH, KAISER
    PERMANENTE, KAISER FOUNDATION HEALTH PLAN, KAISER
 FOUNDATION HOSPITALS, PERMANENTE MEDICAL GROUPS, AND
                     ABC CORPORATION)

72.   Plaintiff restates and realleges all previous paragraphs as though fully set forth

      here.

73.   Congress prohibited sex discrimination in any health care program and activity,

      including policies of insurance issued on behalf of health insurance companies,

      at 42 U.S.C. § 18116, also known as Section 1557, the Patient Protection and

      Affordable Care Act, or Affordable Care Act.

74.   It is believed and therefore averred that Defendants received Federal financial

      assistance, including, it is believed, for their health programs or activities, and

      therefore constitute covered entities under Section 1557 of the Affordable Care

      Act.

75.   It is believed and therefore averred that Defendants constitute issuers of

      insurance products, plans, and benefits that receive Federal financial assistance


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      for those products, plans, and benefits. It is believed and therefore averred that

      Defendants are health insurance issuers and are therefore covered entities within

      the meaning of Section 1557 of the Affordable Care Act. 45 C.F.R. § 92.4.3.

76.   42 U.S.C. § 18116 covers the Defendants as Section 18116 provides, in

      pertinent part, as follows:

            § 18116. Nondiscrimination.

                   (a) In general.

                          Except as otherwise provided for in this title (or an
                          amendment made by this title), an individual shall not, on
                          the ground prohibited under title VI of the Civil Rights Act
                          of 1964 (42 U.S.C. 2000d et seq.), title IX of the Education
                          Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age
                          Discrimination Act of 1975 (42 U.S.C. 6101 et seq.), or
                          section 794 of title 29, be excluded from participation in, be
                          denied the benefits of, or be subjected to discrimination
                          under, any health program or activity, any part of which is
                          receiving Federal financial assistance, including credits,
                          subsidies, or contracts of insurance, or under any program
                          or activity that is administered by an Executive Agency or
                          any entity established under this title (or amendments).

      42 U.S.C. § 18116(a).

77.   Section 1557 of the Affordable Care Act, along with its implementing

      regulations, at 45 CFR § 92, et seq., 81 FR 31375-473 (May 18, 2016), have

      adopted the ACA non-discrimination rule, which prohibits discrimination based

      on sex, gender identity, and gender expression, by referring to and incorporating



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      therein the prohibitions of Title IX (20 U.S.C. § 1681) against sex

      discrimination including its enforcement provisions.

78.   According to 45 CFR § 92.1, “Section 1557 requires the application of the

      enforcement mechanisms under Title VI of the Civil Rights Act of 1964 (42

      U.S.C. 2000d et seq.), Title IX of the Education Amendments of 1972 (20

      U.S.C. 1681 et seq.), the Age Discrimination Act of 1975 (42 U.S.C. 6101 et

      seq.), and Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. 794) for

      purposes of violations of Section 1557 and this part.” 45 CFR § 92.1 (Subpart

      A – General Provisions).

79.   45 CFR § 92.2 further provides in pertinent part:

             Except as provided in Title I of the Patient Protection and Affordable
             Care Act (or any amendment thereto), an individual shall not, on any of
             the grounds set forth in paragraph (b) of this section, be excluded from
             participation in, be denied the benefits of, or be subjected to
             discrimination under any health program or activity, any part of which
             is receiving Federal financial assistance (including credits, subsidies, or
             contracts of insurance) provided by the U.S. Department of Health and
             Human Services; or under any program or activity administered by the
             Department under such Title; or under any program or activity
             administered by any entity established under such Title.

      45 CFR § 92.2.

80.   Upon information and belief, Defendants were required to certify compliance

      with the prohibitions against sex discrimination in 42 U.S.C. § 18116 in order

      to participate in the Commonwealth of Pennsylvania’s State Health Insurance


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      Exchange, under 45 C.F.R. § 92.4:

             Assurances.

             (a) Assurances. An entity applying for Federal financial assistance to
             which this part applies shall, as a condition of any application for
             Federal financial assistance, submit an assurance, on a form specified
             by the Director of the Department’s Office for Civil Rights, that the
             entity’s health programs or activities will be operated in compliance
             with section 1557 and this part. A health insurance issuer seeking
             certification to participate in an Exchange or a State seeking approval to
             operate a State Exchange to which section 1557 or this part applies shall,
             as a condition of certification or approval, submit an assurance, on a
             form specified by the Director of the Department’s Office for Civil
             Rights, that the health program or activity will be operated in
             compliance with section 1557 and this part. An applicant or entity may
             incorporate this assurance by reference in subsequent applications to the
             Department for Federal financial assistance or requests for certification
             to participate in an Exchange or approval to operate a State Exchange.

      45 C.F.R. § 92.4.

81.   Section 1557 provides that “an individual shall not, on the ground prohibited

      under …Title IX of the Education Amendments of 1972 (20 U.S.C. 1681, et

      seq.)” – which prohibits discrimination “on the basis of sex” – “be excluded

      from participation in, be denied the benefits of, or be subjected to discrimination

      under, any health program or activity, any part of which is receiving Federal

      financial assistance.” 42 U.S.C. § 18116(a).

82.   The Department of Health and Human Services’ (“HHS”) regulations including

      the ACA non-discrimination rule apply to “covered entities” and prohibit



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      discrimination on the basis of gender identity. 45 C.F.R. §§ 92.4, 92.207.

83.   Discrimination on the basis of gender identity, transgender status, gender

      transition, or gender nonconformity constitutes discrimination on the basis of

      “sex” under Section 1557.

84.   Defendants, Geisinger Health Plan, Geisinger Quality Options, Inc., Geisinger

      Indemnity Insurance Company, Geisinger Health System, Geisinger, and/or

      ABC Corporation, discriminated against Plaintiff by denying Plaintiff’s pre-

      authorization request for coverage of facial feminization surgery procedures

      when sought as a form of gender affirming care and treatment.

85.   On or about April 30, 2021, Plaintiff called and spoke with a representative of

      Pennsylvania’s health insurance marketplace exchange, or Pennie, the

      Pennsylvania Health Insurance Exchange Authority, and specifically inquired

      about the plans that would cover gender affirming care. Plaintiff was presented

      the option of a plan sold by the Geisinger Defendants. Plaintiff specifically

      asked the representative whether facial feminization surgery, or FFS, forehead

      surgery, and jaw surgery, would be covered under the plan to be purchased, or

      words to that effect. The representative stated that the plan would cover those

      procedures, or words to that effect. Plaintiff was given no reason to doubt the

      same.   Plaintiff would not have purchased the plan had she understood



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      differently that facial feminization surgery would not be covered by the plan.

      Plaintiff also asked whether the plan would cover Plaintiff if she were out-of-

      network, for example, if her surgeon were in California, and the representative

      indicated that the plan would.

86.   On or about August 19, 2021, the Geisinger Defendants denied Plaintiff’s

      preauthorization request seeking coverage for facial feminization surgery even

      though the procedures constituted a form of gender affirming care and treatment

      for Plaintiff.

87.   The Geisinger Defendants, in practice, drew a line between the aforementioned

      procedures sought as a form of gender affirming care and treatment, and other

      procedures, and specifically excluded the aforementioned gender affirming

      procedures for Plaintiff and other transgender people with a gender dysphoria

      diagnosis.

88.   The Geisinger Defendants, in practice, intentionally created a barrier for

      Plaintiff and other people who are transgender to access medical services to

      treat their gender dysphoria.

89.   The Geisinger Defendants intentionally carved out an exclusion based on

      Plaintiff’s transgender status and discriminated against Plaintiff as a

      transgender person on the basis of sex.



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90.   Plaintiff’s sex is inextricably tied to the denial of coverage for gender affirming

      care and treatment.

91.   The Geisinger Defendants presented Plaintiff with the choice of maintaining

      natal sex characteristics with which she did not identify, or enduring financial

      hardship should she seek to transition, which constitutes discrimination against

      Plaintiff because she is transgender.

92.   Further, setting aside the other reasons that the instant denial carves out an

      exclusion against Plaintiff as a transgender person on the basis of sex, draws a

      line on the basis of sex, and involves sex stereotypes, it should nevertheless be

      pointed out that even using a rigid comparator-based framework, a similarly

      situated cisgender person would not be similarly required to initiate treatment

      with gender hormones in such a scenario, and as such, the transgender person

      is being disadvantaged, not the cisgender person, in such a scenario.

93.   The Geisinger Defendants’ purported reason for denying coverage, that

      Plaintiff did not take female or feminizing hormones for one (1) year or more,

      also inherently draws a line based on sex or gender.

94.   It is acknowledged that according to the written terms of the Geisinger

      Defendants’ policy, at Exhibit “A,” body sculpting procedures including

      feminization and masculinization of the face are considered cosmetic, and



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      thereby excluded from coverage, when sought for gender affirming purposes.

      See Exhibit “A,” Geisinger Health Plan Policies and Procedures Manual,

      Medical Benefit Policy, Gender Dysphoria and Gender Confirmation

      Treatment, Policy MP307, at p. 3 (“EXCLUSIONS: The following procedures

      are considered to be cosmetic and not medically necessary to complete gender

      transition … body sculpting (e.g., masculinization or feminization of face …

      .”). However, Plaintiff contends that this language further supports Plaintiff’s

      claims in that, in practice, the Geisinger Defendants singled out these gender

      affirming procedures, as opposed to other procedures, and excluded them from

      coverage when sought for gender affirming purposes, as opposed to other

      purposes. It is therefore contended that such procedures are being excluded

      because they are gender affirming procedures as opposed to other procedures.

      This conduct draws a line based on sex, carves out an exclusion based on

      transgender status, and constitutes discrimination against the plaintiff because

      she is transgender. See Doe v. City of Philadelphia, et al., Case No. 24-0468,

      2024 U.S. Dist. LEXIS 137444, at *13-14 (E.D. Pa. Aug. 2, 2024).

95.   By the plain language of the policy, individuals who seek the same procedures

      as medically appropriate for a reason other than to complete their gender

      transition are not being excluded from coverage, while only individuals who



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      seek the procedures to complete their gender transition are being excluded,

      which is evidence of disparate treatment and discrimination.         That is,

      individuals who are not transgender and who do not suffer from gender

      dysphoria are not affected by the exclusion in Policy MP307 because these

      individuals are not seeking specifically “to complete a gender transition.”

      However, if an individual who is not transgender and who does not suffer from

      gender dysphoria sought one of these same procedures as medically

      appropriate, so long as the procedures were not sought for gender affirming

      purposes, then the exclusion in Policy MP307 would not apply to that

      individual and the services would be considered covered services. Defendants’

      policy of excluding coverage therefore applies only to transgender individuals

      and excludes them from coverage because they are transgender and suffer from

      gender dysphoria. Using the logic of Bostock and also of Skrmetti, such

      conduct constitutes discrimination on the basis of sex.

96.   It should be pointed out that despite the policy containing the above language

      that the first reason for Plaintiff’s denial appears to have been Defendants’

      contention that initiating hormone replacement therapy for one (1) year is

      purportedly a predicate for such procedures, which Plaintiff does not believe

      specifically appears as a prerequisite in the policy document for facial



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      feminization surgery procedures for adults, and which, as above, Plaintiff

      contends is not sincere, and also singles out transgender individuals suffering

      from gender dysphoria for disparate treatment.

97.   The Geisinger Defendants and not Plaintiff or her medical providers made the

      determination that undergoing the subject procedures was not medically

      necessary for Plaintiff to complete her transition. However, the medical-

      necessity determination must be made based on the claimant’s internal sense

      of her gender, or her gender identity, and not on external markers of her

      outward gender expression. What matters, in other words, is how the plaintiff

      identified herself. See Doe v. Independence Blue Cross, No. 23-1530, ___ F.

      Supp. 3d ___, 2023 WL 8050471, at *5 (E.D. Pa. Nov. 21, 2023). It is

      contended that the Geisinger Defendants illegally denied coverage to Plaintiff

      for her to complete her transition based on external markers of her gender

      expression—whether or not she had made changes first using hormone

      replacement therapy—instead of how she identified herself (her gender

      identity), and not based on her letter of medical support from her mental health

      provider or her surgeon’s recommendation.             Plaintiff contends that

      Defendants’ conduct in reality relied upon societal stereotypes.

98.   Plaintiff expended large sums of money to pay for facial feminization



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      procedures not covered by Defendants including approximately $97,000.00 to

      cover the aforementioned procedures not covered by insurance. Plaintiff was

      forced to expend at that time what was, in essence, Plaintiff’s entire life savings

      to date.

99.   The four-year Federal catch-all statute of limitations applies to Plaintiff’s

      claims under Section 1557 of the ACA. See 28 U.S.C. § 1658(a).

      WHEREFORE, Plaintiff, Michael “Doe,” requests judgment in favor of

Plaintiff and against Defendants, Geisinger Health Plan, Geisinger Quality Options,

Inc., Geisinger Indemnity Insurance Company, Geisinger Health System, Geisinger,

Risant Health, Inc., Risant Health, Kaiser Permanente, Kaiser Foundation Health Plan,

Kaiser Foundation Hospitals, Permanente Medical Groups, and ABC Corporation,

jointly and severally, in an amount which will fully and fairly compensate Plaintiff for

any and all out-of-pocket costs/expenses, attorneys’ fees, costs, pre- and post-

judgment interest, equitable and injunctive relief requiring Defendants to cover

transgender individuals who suffer from gender dysphoria for facial feminization

surgery and any further relief that this Court deems just, proper, and equitable.

                          COUNT II:
     DISCRIMINATION BASED ON DISABILITY IN VIOLATION OF
   SECTION 1557 OF THE AFFORDABLE CARE ACT, 42 U.S.C. § 18116
     (PLAINTIFF, MICHAEL “DOE” v. DEFENDANTS, GEISINGER
  HEALTH PLAN, GEISINGER QUALITY OPTIONS, INC., GEISINGER
 INDEMNITY INSURANCE COMPANY, GEISINGER HEALTH SYSTEM,


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    GEISINGER, RISANT HEALTH, INC., RISANT HEALTH, KAISER
    PERMANENTE, KAISER FOUNDATION HEALTH PLAN, KAISER
  FOUNDATION HOSPITALS, PERMANENTE MEDICAL GROUPS, AND
                     ABC CORPORATION)

100. Plaintiff restates and realleges all previous paragraphs as though fully set forth

      here.

101. Plaintiff has a disability, gender dysphoria, or “GD,” which constitutes a

      covered disability within the meaning of Section 1557 of the Affordable Care

      Act.

102. Gender dysphoria is a medical and therapeutic diagnosis associated with

      clinically significant distress or impairment in social, occupational, or other

      important areas of functioning for the transgender person.

103. Transgender people are diagnosed as suffering from GD when they have

      clinically significant distress associated with being transgender.

104. GD is a disability in that it substantially impairs one or more major life

      activities, including, but not limited to, neurological, brain, social, or

      occupational functioning.

105. It is alleged gender dysphoria results from a physical impairment. Plaintiff’s

      gender dysphoria results from a physical impairment. It is alleged Plaintiff’s

      gender dysphoria substantially limited Plaintiff in neurological or brain

      functioning.


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106. Plaintiff’s gender dysphoria substantially limited Plaintiff in the major life

      activity of social functioning.

107. Congress prohibited discrimination in any health care program and activity,

      including policies of insurance issued on behalf of health insurance companies,

      on the basis of disability, that includes the Defendants, at 42 U.S.C. § 18116,

      also known as Section 1557, the Affordable Care Act.

108. 42 U.S.C. § 18116 provides, in pertinent part, as follows:

            § 18116. Nondiscrimination.

                   (a) In general.

                          Except as otherwise provided for in this title (or an
                          amendment made by this title), an individual shall not, on
                          the ground prohibited under title VI of the Civil Rights Act
                          of 1964 (42 U.S.C. 2000d et seq.), title IX of the Education
                          Amendments of 1972 (20 U.S.C. 1681 et seq.), the Age
                          Discrimination Act of 1975 (42 U.S.C. 6101 et seq.), or
                          section 794 of title 29 [the Rehabilitation Act of 1973], be
                          excluded from participation in, be denied the benefits of, or
                          be subjected to discrimination under, any health program or
                          activity, any part of which is receiving Federal financial
                          assistance, including credits, subsidies, or contracts of
                          insurance, or under any program or activity that is
                          administered by an Executive Agency or any entity
                          established under this title (or amendments).

       42 U.S.C. § 18116(a) (emphasis added).

109. According to 45 CFR § 92.1, “Section 1557 requires the application of the

      enforcement mechanisms under Title VI of the Civil Rights Act of 1964 (42


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      U.S.C. 2000d et seq.), Title IX of the Education Amendments of 1972 (20

      U.S.C. 1681 et seq.), the Age Discrimination Act of 1975 (42 U.S.C. 6101 et

      seq.), and Section 504 of the Rehabilitation Act of 1973 (29 U.S.C. 794) for

      purposes of violations of Section 1557 and this part.” 45 CFR § 92.1 (Subpart

      A – General Provisions).

110. Upon information and belief, Defendants were required to certify compliance

      with the prohibitions against discrimination based on disability as set forth in

      42 U.S.C. § 18116 in order to participate in the Commonwealth of

      Pennsylvania’s State Health Insurance Exchange, under 45 C.F.R. § 92.4:

            Assurances.

                   (a) Assurances. An entity applying for Federal financial
                   assistance to which this part applies shall, as a condition of any
                   application for Federal financial assistance, submit an assurance,
                   on a form specified by the Director of the Department’s Office for
                   Civil Rights, that the entity’s health programs or activities will be
                   operated in compliance with section 1557 and this part. A health
                   insurance issuer seeking certification to participate in an Exchange
                   or a State seeking approval to operate a State Exchange to which
                   section 1557 or this part applies shall, as a condition of
                   certification or approval, submit an assurance, on a form specified
                   by the Director of the Department’s Office for Civil Rights, that
                   the health program or activity will be operated in compliance with
                   section 1557 and this part. An applicant or entity may incorporate
                   this assurance by reference in subsequent applications to the
                   Department for Federal financial assistance or requests for
                   certification to participate in an Exchange or approval to operate a
                   State Exchange.



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       45 C.F.R. § 92.4

111. The Department of Health and Human Services (“HHS”) regulations including

      the ACA non-discrimination rule apply to “covered entities” and prohibit

      discrimination on the basis of actual or perceived disability. 45 C.F.R. §§ 92.4,

      92.207.

112. Defendants constitute covered entities under 45 C.F.R. § 92.4.3.

113. Plaintiff has been wrongfully subjected to discrimination by Defendants

      because of her disability (gender dysphoria).

114. On or about April 30, 2021, Plaintiff called and spoke with a representative of

      Pennsylvania’s health insurance marketplace exchange, or Pennie, the

      Pennsylvania Health Insurance Exchange Authority, and specifically inquired

      about the plans that would cover gender affirming care. Plaintiff was presented

      the option of a plan sold by the Geisinger Defendants. Plaintiff specifically

      asked the representative whether facial feminization surgery, or FFS, forehead

      surgery, and jaw surgery, would be covered under the plan to be purchased, or

      words to that effect. The representative stated that the plan would cover those

      procedures, or words to that effect. Plaintiff was given no reason to doubt the

      same.     Plaintiff would not have purchased the plan had she understood

      differently that facial feminization surgery would not be covered by the plan.



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      Plaintiff also asked whether the plan would cover Plaintiff if she were out-of-

      network, for example, if her surgeon were in California, and the representative

      indicated that the plan would.

115. On or about August 19, 2021, Defendants, Geisinger Health Plan, Geisinger

      Quality Options, Inc., Geisinger Indemnity Insurance Company, Geisinger

      Health System, Geisinger, and/or ABC Corporation, denied Plaintiff’s

      preauthorization request seeking coverage for facial feminization surgery even

      though the procedures constituted a form of gender affirming care and treatment

      for Plaintiff.

116. The Geisinger Defendants denied medically necessary gender affirming care

      and treatment for Plaintiff’s gender dysphoria disability.

117. The Geisinger Defendants, in practice, singled out Plaintiff and other people

      who are transgender who suffer from gender dysphoria for unequal treatment

      by creating a barrier for them to access medical services to treat their gender

      dysphoria disability.

118. The Geisinger Defendants, in practice, drew a line between procedures sought

      as a form of gender affirming care and treatment, and other procedures, and

      specifically excluded the aforementioned gender affirming procedures for

      Plaintiff and other transgender people with a gender dysphoria diagnosis.



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119. The Geisinger Defendants applied their exclusion for cosmetic procedures in a

      way that discriminates against diagnoses of gender dysphoria and discriminated

      against Plaintiff solely on the basis of that diagnosis. See Doe v. City of

      Philadelphia, et al., 2024 WL 3634221, at *6 (E.D. Pa. Aug. 2, 2024) (denying

      the insurer’s motion to dismiss Plaintiff’s disability discrimination claim

      because, “As alleged in the Second Amended Complaint, IBX [the insurer]

      applied its ‘functional impairment’ exception to its exclusion for cosmetic

      procedures in a way that discriminates against diagnoses of gender

      dysphoria. Doe thus plausibly has alleged that she was discriminated against

      solely because of that diagnosis.”).

120. Plaintiff expended large sums of money to pay for facial feminization

      procedures not covered by Defendant including approximately $97,000.00 to

      cover the aforementioned procedures not covered by insurance. Plaintiff was

      forced to expend at that time what was, in essence, Plaintiff’s entire life savings

      to date.

121. The four-year Federal catch-all statute of limitations applies to Plaintiff’s

      claims under Section 1557 of the ACA. See 28 U.S.C. § 1658(a).

      WHEREFORE, Plaintiff, Michael “Doe,” requests judgment in favor of

Plaintiff and against Defendants, Geisinger Health Plan, Geisinger Quality Options,



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Inc., Geisinger Indemnity Insurance Company, Geisinger Health System, Geisinger,

Risant Health, Inc., Risant Health, Kaiser Permanente, Kaiser Foundation Health Plan,

Kaiser Foundation Hospitals, Permanente Medical Groups, and ABC Corporation,

jointly and severally, in an amount which will fully and fairly compensate Plaintiff for

any and all out-of-pocket costs/expenses, attorneys’ fees, costs, pre- and post-

judgment interest, equitable and injunctive relief requiring Defendants to cover

transgender individuals who suffer from gender dysphoria for facial feminization

surgery and any further relief that this Court deems just, proper, and equitable.

                         COUNT III:
BREACH OF CONTRACT AND OF THE IMPLIED COVENANT OF GOOD
                  FAITH AND FAIR DEALING
    (PLAINTIFF, MICHAEL “DOE” v. DEFENDANTS, GEISINGER
  HEALTH PLAN, GEISINGER QUALITY OPTIONS, INC., GEISINGER
 INDEMNITY INSURANCE COMPANY, GEISINGER HEALTH SYSTEM,
   GEISINGER, RISANT HEALTH, INC., RISANT HEALTH, KAISER
   PERMANENTE, KAISER FOUNDATION HEALTH PLAN, KAISER
 FOUNDATION HOSPITALS, PERMANENTE MEDICAL GROUPS, AND
                    ABC CORPORATION)

122. Plaintiff restates and realleges all previous paragraphs as though fully set forth

      here.

123. Defendants, Geisinger Health Plan, Geisinger Quality Options, Inc., Geisinger

      Indemnity Insurance Company, Geisinger Health System, Geisinger, and/or

      ABC Corporation, issued and had in place for the Plaintiff a policy of health

      insurance to insure Plaintiff for healthcare.


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124. Plaintiff was a party to the contract that existed between Plaintiff and the

      Geisinger Defendants.

125. Plaintiff purchased an insurance policy from the Geisinger Defendants

      believing that the policy would cover Plaintiff for gender affirming care and

      treatment that was medically necessary to treat her gender dysphoria.

126. On or about April 30, 2021, Plaintiff called and spoke with a representative of

      Pennsylvania’s health insurance marketplace exchange, or Pennie, and

      specifically inquired about the plans that would cover gender affirming care.

      Plaintiff was presented the option of a plan sold by the Geisinger Defendants.

      Plaintiff specifically asked the representative whether facial feminization

      surgery, or FFS, forehead surgery, and jaw surgery, would be covered under the

      plan to be purchased, or words to that effect. The representative stated that the

      plan would cover those procedures, or words to that effect. Plaintiff was given

      no reason to doubt the same. Plaintiff would not have purchased the plan had

      she understood differently that facial feminization surgery would not be

      covered by the plan. Plaintiff also asked whether the plan would cover Plaintiff

      if she were out-of-network, for example, if her surgeon were in California, and

      the representative indicated that the plan would.

127. At all times relevant hereto, Plaintiff paid premiums to the Geisinger



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      Defendants believing that they would honor their part of the bargain and cover

      Plaintiff for gender affirming care and treatment that was medically necessary

      to treat her gender dysphoria.

128. A true and correct copy of what Plaintiff contends constituted the essential

      terms of the contract between Plaintiff and the Geisinger Defendants, the

      Geisinger Health Plan Policies and Procedures Manual, Medical Benefit Policy,

      Gender Dysphoria and Gender Confirmation Treatment, Policy MP307, is

      attached hereto as Exhibit “A.”

129. Though not known to Plaintiff at the time of the purchase of the policy, Plaintiff

      points out that, while acknowledging the Geisinger Defendants’ exclusions of

      gender affirming care, that the Geisinger Defendants’ medical policy on gender

      dysphoria treatment does state: “Facial implants, injections, or bone reduction

      (may be considered on a per-case basis with appropriate clinical

      documentation).” See Exhibit “A,” Geisinger Medical Policy MP307, at p. 3.

130. More specifically, a portion of the subject policy states, “EXCLUSIONS: The

      following procedures are considered to be cosmetic and not medically

      necessary to     complete gender transition        … body sculpting (e.g.,

      masculinization or feminization of face … .”).       See Exhibit “A,” at p. 3.

      However, the subject policy also states that the following procedures are also



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      excluded: “Facial implants, injections, or bone reduction (may be considered

      on a per-case basis with appropriate clinical documentation)” (emphasis

      added). See id.

131. At all times relevant hereto, the Geisinger Defendants had a duty to apply the

      provisions of the policy including the above provision of the policy correctly

      with respect to Plaintiff who sought coverage for procedures that included facial

      implants, injections, and bone reduction, which constituted medically necessary

      gender affirming care and treatment to alleviate Plaintiff’s gender dysphoria.

132. However, in practice, the Geisinger Defendants did not apply the above

      provision properly with respect to Plaintiff.

133. On or about August 19, 2021, the Geisinger Defendants denied Plaintiff’s

      preauthorization request seeking coverage for facial feminization surgery even

      though the procedures constituted a form of gender affirming care and treatment

      for Plaintiff.

134. Plaintiff submitted clinical documentation to the Geisinger Defendants in the

      form of a letter of medical support from her mental health provider, and

      Plaintiff’s surgeon had also recommended the performance of the subject

      procedures.

135. The Geisinger Defendants breached their contractual duty to Plaintiff by failing



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      to properly apply the language of the policy to Plaintiff’s circumstances.

136. The Geisinger Defendants breached their contractual duty to Plaintiff by failing

      to cover Plaintiff’s case based on the clinical documentation submitted by

      Plaintiff to the Geisinger Defendants pursuant to the policy.

137. In addition, it is not believed that anywhere in the Geisinger Defendants’ policy

      related to gender dysphoria treatment, attached as Exhibit “A,” is there any

      reference to a requirement that an adult individual must undergo hormone

      replacement therapy for one (1) full year before being considered for facial

      feminization procedures. The Geisinger Defendants breached their duty to

      apply the relevant provisions of the policy to Plaintiff’s circumstances, based

      on the clinical documentation she supplied, by requiring Plaintiff to undergo

      hormone replacement therapy for one (1) full year before being considered for

      facial feminization procedures.

138. Further, nowhere in the Geisinger Defendants policy, attached as Exhibit “A,”

      is there a reference to a requirement that an individual must be limited in

      chewing or swallowing to qualify them for facial feminization procedures, as it

      appears, according to the language in the policy, that the policy permits facial

      feminization procedures when there is appropriate clinical documentation of

      impairments in, for example, social, occupational, or other important areas of



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      functioning related to gender dysphoria, not just chewing or swallowing. The

      Geisinger Defendants have incorrectly applied the provisions of the policy to

      Plaintiff.

139. The Geisinger Defendants also stated as another reason for their denial in

      Exhibit “B” that Plaintiff did not have behavioral health evaluations from two

      (2) clinicians. This is incorrect. Plaintiff did have the support of her surgeon

      and of her mental health provider. Plaintiff’s surgeon was a plastic surgeon and

      transgender healthcare specialist. Plaintiff’s therapist has expertise in mental

      health treatment of transgender individuals. This stated reason completely

      disregards the knowledge and opinions of the two (2) healthcare professionals

      who supported Plaintiff’s request and who had expertise in gender affirming

      care. Further, only one provider supported the Defendants’ denial initially, and

      that provider was a hand surgeon, in the context of a facial surgery.

140. It is alleged that the Geisinger Defendants have engaged in predatory behavior

      as it is alleged they never intended to pay Plaintiff’s claim and, at all relevant

      times, were looking for reasons to deny the claim out of financial self-interest.

141. The Geisinger Defendants forced Plaintiff to file unnecessary litigation to

      secure coverage for medically necessary gender affirming care and treatment to

      which Plaintiff was entitled by the language of the policy.



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142. Furthermore, at all times relevant hereto, the Geisinger Defendants had a duty

       of good faith and fair dealing with respect to Plaintiff in the Geisinger

       Defendants’ performance and enforcement of the contract at issue.

143.   The Geisinger Defendants breached the implied covenant of good faith and fair

       dealing with Plaintiff.

144.   As a direct and proximate result of the Geisinger Defendants’ breaches of their

       contractual   duties      and    of   the    duties   of   good   faith   and   fair

       dealing, Plaintiff suffered damages for which Plaintiff seeks to recover against

       Defendants for out-of-pocket costs and expenses paid for the subject

       procedures.

145.   The Geisinger Defendants failed to make payment pursuant to the Policy which

       has caused Plaintiff to expend large sums of monies in attempts to alleviate her

       gender dysphoria through medically necessary procedures for which the

       Geisinger Defendants unlawfully denied coverage.

146. Plaintiff expended large sums of money to pay for facial feminization

       procedures not covered by Defendants including approximately $97,000.00 to

       cover the aforementioned procedures without insurance. Plaintiff was forced to

       expend at that time what was, in essence, Plaintiff’s entire life savings to date.

       WHEREFORE, Plaintiff, Michael “Doe,” requests judgment in favor of


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Plaintiff and against Defendants, Geisinger Health Plan, Geisinger Quality Options,

Inc., Geisinger Indemnity Insurance Company, Geisinger Health System, Geisinger,

Risant Health, Inc., Risant Health, Kaiser Permanente, Kaiser Foundation Health Plan,

Kaiser Foundation Hospitals, Permanente Medical Groups, and ABC Corporation,

jointly and severally, in an amount which will fully and fairly compensate Plaintiff for

any and all out-of-pocket costs/expenses, pre- and post-judgment interest, and any

further relief that this Court deems just, proper, and equitable.

                          COUNT IV:
  VIOLATION OF THE UNFAIR TRADE PRACTICES AND CONSUMER
        PROTECTION LAW (“UTPCPL”), 73 P.S. §§ 201-1 - 201-9.2
     (PLAINTIFF, MICHAEL “DOE” v. DEFENDANTS, GEISINGER
  HEALTH PLAN, GEISINGER QUALITY OPTIONS, INC., GEISINGER
 INDEMNITY INSURANCE COMPANY, GEISINGER HEALTH SYSTEM,
   GEISINGER, RISANT HEALTH, INC., RISANT HEALTH, KAISER
   PERMANENTE, KAISER FOUNDATION HEALTH PLAN, KAISER
 FOUNDATION HOSPITALS, PERMANENTE MEDICAL GROUPS, AND
                     ABC CORPORATION)

147. Plaintiff restates and realleges all previous paragraphs as though fully set forth

      here.

148. Defendants, upon information and belief, advertise to the transgender

      community that Defendants provide inclusive care.

149. At all times relevant hereto, Defendants, Geisinger Health Plan, Geisinger

      Quality Options, Inc., Geisinger Indemnity Insurance Company, Geisinger

      Health System, Geisinger, and/or ABC Corporation, issued and had in place for


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      the Plaintiff a policy of health insurance to insure Plaintiff for healthcare. A

      true and correct copy of the Policy applicable to Plaintiff’s claim at the time is

      attached hereto as Exhibit “A.”

150. Plaintiff sought insurance coverage from the Geisinger Defendants for facial

      feminization surgery, which constituted a form of gender affirming care and

      treatment, in an attempt to alleviate Plaintiff’s gender dysphoria.

151. Plaintiff did not elect to purchase health insurance through her employer’s

      health insurance plan, because Plaintiff wanted to ensure that the facial

      feminization surgery procedures that Plaintiff specifically sought would be

      covered by insurance at the relevant time.

152. Plaintiff has been working as a food delivery driver. Plaintiff discontinued her

      employer’s health insurance coverage and instead sought coverage from the

      Geisinger Defendants for facial feminization surgery procedures believing them

      to be covered. The plan ultimately purchased by Plaintiff from the Geisinger

      Defendants was not an employer sponsored health plan covered by the

      Employee Retirement Income Security Act (“ERISA”).

153. Specifically, on or about April 30, 2021, Plaintiff called and spoke with a

      representative of Pennsylvania’s health insurance marketplace exchange, or

      Pennie, the Pennsylvania Health Insurance Exchange Authority, and



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      specifically inquired about the plans that would cover gender affirming care.

      Plaintiff was presented the option of a plan sold by the Geisinger Defendants.

      Plaintiff specifically asked the representative whether facial feminization

      surgery, or FFS, forehead surgery, and jaw surgery, would be covered under the

      plan to be purchased, or words to that effect. The representative stated that the

      plan would cover those procedures, or words to that effect. Plaintiff was given

      no reason to doubt the same. Plaintiff would not have purchased the plan had

      she understood differently that facial feminization surgery would not be

      covered by the plan. Plaintiff also asked whether the plan would cover Plaintiff

      if she were out-of-network, for example, if her surgeon were in California, and

      the representative indicated that the plan would.

154. It is believed and averred that the representative from Pennie, the Pennsylvania

      Health Insurance Exchange Authority, who spoke with Plaintiff was an

      insurance agent or an insurance broker acting, at all times relevant hereto, on

      behalf of the Geisinger Defendants, in selling the subject policy on behalf of

      the Geisinger Defendants, producing the subject policy on behalf of the

      Geisinger Defendants, and who, it is believed and therefore averred, received

      payment in the form of a commission from the Geisinger Defendants to do so.

      It is alleged that the Geisinger Defendants are responsible for the



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      representations made by their insurance agents or brokers acting on their behalf

      with respect to the Pennsylvania Health Insurance Exchange Authority.

155. In 2021, Plaintiff found difficulties in making ends meet but she ensured that

      she paid premiums every month in a timely manner to the Geisinger

      Defendants. Plaintiff did so in order to ensure she maintained health insurance

      coverage with the Geisinger Defendants that Plaintiff believed would

      specifically cover the gender affirming procedures Plaintiff would be seeking.

      Because of Defendants’ ultimate denial of coverage for these procedures,

      Plaintiff was forced to expend at that time what was, in essence, Plaintiff’s

      entire life savings to date.

156. In reliance on the representation that the Geisinger Defendants’ insurance plan

      would cover facial feminization surgery procedures, Plaintiff elected to

      purchase the Geisinger Defendants’ health insurance plan. The effective date

      of the insurance plan that was purchased by Plaintiff from the Geisinger

      Defendants was May 1, 2021.

157. The specific reason why Plaintiff sought and purchased the plan at the time,

      believing the representation that facial feminization surgery procedures would

      be covered under the plan, was because Plaintiff had scheduled a surgery date

      for the facial feminization surgery procedures for July 2, 2021. The specific



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      facial feminization surgery procedures sought by Plaintiff were the reason why

      she procured health insurance coverage from the Geisinger Defendants in the

      first instance.

158. On or about June 28 or 29, 2021, Plaintiff submitted a preauthorization request

      to the Geisinger Defendants for coverage of the subject facial feminization

      surgery procedures.

159. On account of the representation made to Plaintiff at the time of the sale of the

      insurance policy to Plaintiff, Plaintiff did not believe at the time that coverage

      for the procedures would be denied. Plaintiff proceeded with the surgery which

      occurred as scheduled on July 2, 2021.

160. Plaintiff supplied medical documentation in support of her request for coverage

      of the subject procedures in or about July 2021, including medical support from

      both her surgeon and a mental health provider, and still believing at the time

      that the subject procedures would be covered.

161. On August 19, 2021, the Geisinger Defendants provided Plaintiff an initial

      denial of Plaintiff’s preauthorization request seeking coverage for facial

      feminization surgery even though the procedures constituted a form of gender

      affirming care and treatment for Plaintiff.

162. The Geisinger Defendants have engaged in predatory behavior when they never



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      intended to cover Plaintiff’s claim in the first place.

163. Defendants engaged in unfair trade practices and deceptive conduct against

      Plaintiff in violation of, inter alia, §§ 201-2(4)(vii), (ix), and (xxi) of the Unfair

      Trade Practices and Consumer Protection Law (“UTPCPL”) specifically in the

      selling of the insurance policy to Plaintiff.

164. As a direct and proximate result of Defendant’s predatory, unfair trade practices,

      and deceptive conduct, Plaintiff suffered damages for which Plaintiff seeks to

      recover against Defendants for out-of-pocket costs and expenses paid for the

      subject procedures.

165. Plaintiff expended large sums of money to pay for facial feminization procedures

      not covered by Defendants including approximately $97,000.00 to cover the

      aforementioned procedures without insurance. Plaintiff was forced to expend at

      that time what was, in essence, Plaintiff’s entire life savings to date.

166. Plaintiff is permitted to institute this claim under § 201-9.2 of the Pennsylvania

      Unfair Trade Practices and Consumer Protection Law (“UTPCPL”) for actual

      damages. The court may also in its discretion award up to three times the actual

      damages sustained and may provide such additional relief as the court deems

      necessary or proper.

167. The UTPCPL has a six-year statute of limitations applicable to the



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       aforementioned conduct.

       WHEREFORE, Plaintiff, Jane Doe, requests judgment in favor of Plaintiff and

against Defendants, Geisinger Health Plan, Geisinger Quality Options, Inc., Geisinger

Indemnity Insurance Company, Geisinger Health System, Geisinger, Risant Health,

Inc., Risant Health, Kaiser Permanente, Kaiser Foundation Health Plan, Kaiser

Foundation Hospitals, Permanente Medical Groups, and ABC Corporation, jointly and

severally, in an amount in excess of $150,000.00 which will fully and fairly compensate

Plaintiff for any and all out-of-pocket costs/expenses, treble damages, reasonable

attorneys’ fees and costs, and any further relief that this Court deems just, proper, and

equitable.

                                 JURY DEMAND

       Plaintiff hereby requests a trial by jury of eight (8) members on all counts so

triable.

DATED: 07/01/2025                      Respectfully submitted,



                                       Justin Robinette, Esquire
                                       PA Supreme Court I.D. No. 319829
                                       One Liberty Place,
                                       1650 Market Street, Suite 3600
                                       PMB #2494
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                            Attorney for Plaintiff,
                            Michael “Doe”




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                                  VERIFICATION

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws

of the United States of America that the foregoing is true and correct.



DATED: ___________              BY: ______              _______________________
                                    Michael




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